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                                                             CIVIL COVER SHEET
JS-44 (Rev. 11/2020 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Cayuga Nation                                                                  The United States of America;
                                                                                U.S. Department of Justice;
                                                                                Honorable Merrick Garland, in his official capacity as Attorney General;
                                                                                Honorable Trini Ross, in her official capacity as United States Attorney
                                                                                for the Western District of New York
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________           COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)
 David W. DeBruin
 Jenner & Block LLP
 1099 New York Avenue
 Washington, D.C. 20001
 (202) 639 6000
 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

  o 1 U.S. Government o 3(U.S.
                          Federal Question
                               Government Not a Party)
                                                                                           PTF    DFT
                                                                                                 o 1 o 1 Incorporated or Principal Place o 4 o 4
                                                                                                                                                           PTF        DFT

         Plaintiff                                                  Citizen of this State
                                                                                                                     of Business in This State
  o 2 U.S. Government o 4 Diversity
                          (Indicate Citizenship of
                                                                    Citizen of Another State     o 2 o 2 Incorporated and Principal Place o 5 o 5
         Defendant                                                                                       of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o 3 o 3 Foreign Nation                   o6 o6
                                              IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o A. Antitrust           o B. Personal Injury/                          o C. Administrative Agency                             o D. Temporary Restraining
                                     Malpractice                                    Review                                                  Order/Preliminary
       410 Antitrust                                                                                                                        Injunction
                               310 Airplane                                     151 Medicare Act
                               315 Airplane Product Liability                                                                    Any nature of suit from any category
                               320 Assault, Libel & Slander               Social Security
                                                                                                                                 may be selected for this category of
                                                                               861 HIA (1395ff)
                               330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                               340 Marine
                                                                               863 DIWC/DIWW (405(g))                            *(If Antitrust, then A governs)*
                               345 Marine Product Liability
                                                                               864 SSID Title XVI
                               350 Motor Vehicle
                                                                               865 RSI (405(g))
                               355 Motor Vehicle Product Liability
                                                                          Other Statutes
                               360 Other Personal Injury
                                                                               891 Agricultural Acts
                               362 Medical Malpractice
                                                                               893 Environmental Matters
                               365 Product Liability
                                                                               890 Other Statutory Actions (If
                               367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                   Personal Injury Product Liability
                                                                                   Involved)
                               368 Asbestos Product Liability


 o E. General Civil (Other)                                 OR                  o F. Pro Se General Civil
 Real Property                           Bankruptcy                                  Federal Tax Suits
      210 Land Condemnation                  422 Appeal 2 USC 158                       870 Taxes (US plaintiff or                    465 Other Immigration Actions
      220 Foreclosure                        423 Withdrawal 28 USC 157                        defendant)                               470 Racketeer Influenced
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                        & Corrupt Organization
      240 Torts to Land                  Prisoner Petitions                                   7609
                                                                                                                                       480 Consumer Credit
      245 Tort Product Liability              535 Death Penalty
                                                                                     Forfeiture/Penalty                                485 Telephone Consumer
      290 All Other Real Property             540 Mandamus & Other
                                                                                         625 Drug Related Seizure of                       Protection Act (TCP$)
                                              550 Civil Rights
                                                                                              Property 21 USC 881                      490 Cable/Satellite TV
 Personal Property                            555 Prison Conditions
                                                                                         690 Other                                     850 Securities/Commodities/
      370 Other Fraud                         560 Civil Detainee – Conditions
                                                                                                                                           Exchange
      371 Truth in Lending                        of Confinement
                                                                                     Other Statutes                                    896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                          899 Administrative Procedure
          Damage                         Property Rights
                                                                                         376 Qui Tam (31 USC                               Act/Review or Appeal of
      385 Property Damage                    820 Copyrights
                                                                                             3729(a))                                      Agency Decision
          Product Liability                  830 Patent
                                                                                         400 State Reapportionment                     950 Constitutionality of State
                                             835 Patent – Abbreviated New
                                                                                         430 Banks & Banking                               Statutes
                                                 Drug Application
                                                                                         450 Commerce/ICC Rates/etc                    890 Other Statutory Actions
                                             840 Trademark
                                                                                         460 Deportation                                   (if not administrative agency
                                             880 Defend Trade Secrets Act of
                                                                                         462 Naturalization                                review or Privacy Act)
                                                 2016 (DTSA)
                                                                                              Application
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 o G. Habeas Corpus/                           o H. Employment                                o I. FOIA/Privacy Act                        o J. Student Loan
                2255                                 Discrimination
       530 Habeas Corpus – General                   442 Civil Rights – Employment                  895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                        (criteria: race, gender/sex,               890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                         national origin,                               (if Privacy Act)                             (excluding veterans)
           Detainee                                      discrimination, disability, age,
                                                         religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o K. Labor/ERISA                              o L. Other Civil Rights                        o M. Contract                                o N. Three-Judge
                (non-employment)                            (non-employment)                                                                     Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                  441 Voting (if not Voting Rights               120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                         Act)                                       130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                         443 Housing/Accommodations                     140 Negotiable Instrument
       751 Family and Medical                        440 Other Civil Rights                         150 Recovery of Overpayment
           Leave Act                                 445 Americans w/Disabilities –                     & Enforcement of
       790 Other Labor Litigation                        Employment                                     Judgment
       791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                 153 Recovery of Overpayment
                                                         Other                                          of Veteran’s Benefits
                                                     448 Education                                  160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened        from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge
 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
25 U.S.C. § 2810 and other federal statutes; 5 U.S.C. 706; and violation of trust relationship. Cayuga Nation brings this action against Defendants to
redress Defendants' wrongful refusal to recognize, meet with, and aid and protect, as statutorily required, the sovereign government of the Cayuga
Nation.
 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23                JURY DEMAND:                                YES               NO

 VIII. RELATED CASE(S)                       (See instruction)
                                                                                 YES     ✘              NO                       If yes, please complete related case form
       IF ANY

                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________
             _11/13/2023
 DATE: __________ ______________

                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                       of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                       under Section II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                       represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                       nature of suit found under the category of the case.

           VI.         CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                       the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
